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                                                                            EXHIBIT A
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Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 6 of 127 PageID #:146
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Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 15 of 127 PageID #:155
Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 16 of 127 PageID #:156
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Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 18 of 127 PageID #:158
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                       Case: 9:15
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                                  AM          Document #: 6-1 Filed: 05/31/23 Page 20 of 127 PageID #:160
      Location: Court Room 2508
      Judge: Gamrath, Celia G
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 21 of 127 PageID #:161
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 22 of 127 PageID #:162
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 23 of 127 PageID #:163
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 24 of 127 PageID #:164
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 25 of 127 PageID #:165
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 26 of 127 PageID #:166
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 27 of 127 PageID #:167
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 28 of 127 PageID #:168
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 29 of 127 PageID #:169
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 30 of 127 PageID #:170
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 31 of 127 PageID #:171
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 32 of 127 PageID #:172
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 33 of 127 PageID #:173
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 34 of 127 PageID #:174
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 35 of 127 PageID #:175
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 36 of 127 PageID #:176
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 37 of 127 PageID #:177
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 38 of 127 PageID #:178
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 39 of 127 PageID #:179
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 40 of 127 PageID #:180
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 41 of 127 PageID #:181
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 42 of 127 PageID #:182
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 43 of 127 PageID #:183
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 44 of 127 PageID #:184
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 45 of 127 PageID #:185
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 46 of 127 PageID #:186
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 47 of 127 PageID #:187
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 48 of 127 PageID #:188
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 49 of 127 PageID #:189
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 50 of 127 PageID #:190
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 51 of 127 PageID #:191
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 52 of 127 PageID #:192
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 53 of 127 PageID #:193
FILED DATE: 4/25/2023 11:50 AM 2023CH04058
                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 54 of 127 PageID #:194
FILED DATE: 4/25/2023 11:50 AM 2023CH04058
                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 55 of 127 PageID #:195
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 56 of 127 PageID #:196
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 57 of 127 PageID #:197
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 58 of 127 PageID #:198
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 59 of 127 PageID #:199
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 60 of 127 PageID #:200
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 61 of 127 PageID #:201
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 62 of 127 PageID #:202
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 63 of 127 PageID #:203
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 64 of 127 PageID #:204
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 65 of 127 PageID #:205
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 66 of 127 PageID #:206
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 67 of 127 PageID #:207
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 68 of 127 PageID #:208
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 69 of 127 PageID #:209
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 70 of 127 PageID #:210
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 71 of 127 PageID #:211
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                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 72 of 127 PageID #:212
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                         Case:scheduled
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      Judge: Calendar, 6



                                                                                                                                Attorney No. 12705

                                                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
FILED DATE: 4/26/2023 12:30 PM 2023CH04058




                                                                 COUNTY DEPARTMENT, CHANCERY DIVISION
                                                                                                                                          FILED
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                                                                                                                                          IRIS Y. MARTINEZ
                                             GENERAL DEVELOPMENT OF IL, LLC                )                                              CIRCUIT CLERK
                                             an Illinois limited liability company,        )                                              COOK COUNTY, IL
                                             HANAN BEKRI and                                )                                             2023CH04058
                                                                                                                                          Calendar, 6
                                             ABDERRAZK CHAHINE                             )                                              22459055
                                                                             Plaintiffs,    )
                                                                                            )
                                                           v.                               )             Case No. 23CH 04058
                                                                                            )
                                                                                            )
                                             CITY OF HICKORY HILLS,                         )
                                             an Illinois municipal corporation, and          )
                                             SUE LEHR, individually and in her capacity as )
                                             Hickory Hills director of Public Works,         )
                                                                                            )
                                                                         Defendants.        )

                                                                       PLAINTIFFS’ MOTION TO DISQUALIFY

                                                     Plaintiffs, General Development of Illinois, LLC (General), Hanan Bekri (Hanan) and

                                             Abderrazk Chahine (Abderrazk) by and through their attorney, and moving to disqualify the law

                                             firm of Louis F. Cainkar, LTD and attorney Vincent Cainkar from representing the defendants in

                                             this matter, state as follows:

                                                                                        INTRODUCTION

                                                     The subject matter of this litigation involves the illegal placement of a water main on

                                             property located in the Village of Hickory Hills. Plaintiff General is the current owner of the

                                             property and the same is under contract for sale to co-plaintiffs Hanan and Abderrazk.

                                                     After acquiring the property, General developed the property into single family homes,

                                             which required General to submit surveys, plats of subdivision and plans to defendant Hickory

                                             Hills for approval.



                                                                                         Page 1 of 3
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                                                      Louis F. Cainkar, LTD (the Firm) and Vincent Cainkar (the Attorney) are the attorneys

                                             for the City of Hickory Hills and were involved in the process of the development of the subject
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                                             property, and the approval of that development on behalf of Hickory Hills. As a result, they are

                                             witnesses and are prohibited from representing the defendants and being witnesses

                                             simultaneously.

                                                                                               ARGUMENT

                                                     Rule 3.7 of the Illinois Rules of Professional Conduct 2010, provides:

                                             (a) A lawyer shall not act as advocate at a trial in which the lawyer is likely to be a necessary witness
                                             unless:
                                             (1) the testimony relates to an uncontested issue;
                                             (2) the testimony relates to the nature and value of legal services rendered in the case; or
                                             (3) disqualification of the lawyer would work substantial hardship on the client.
                                             (b) A lawyer may act as advocate in a trial in which another lawyer in the lawyer's firm is likely to be
                                             called as a witness unless precluded from doing so by Rule 1.7 or Rule 1.9.

                                                     Both the Firm and the Attorney have a conflict of interest in that they specifically communicated

                                             with General and requested that General grant Hickory Hills a public utility easement on 8566 83 rd

                                             Avenue and gave their approval of the plats and plans dedicating that easement at the requested location,

                                             but Hickory Hills and co-defendant Lehr actually constructed the water main outside the dedicated

                                             easement, and constructed the same on 8570 83rd Avenue, thus making the property unsaleable.

                                                     Both the Firm and the attorney are material witnesses to the development approval process and

                                             are potential party defendants and cannot advocate and witness at the same time.

                                                     In addition, as the Firm and the Attorney may have their own liability for their actions their

                                             positions are adverse to those of Hickory Hills and they cannot advocate for a client with whom they have

                                             a concurrent conflict.

                                                     Wherefore, Plaintiffs pray this Honorable Court enter an order disqualifying the law firm
                                             of Louis F. Cainkar, LTD and attorney Vincent Cainkar from acting as attorneys for the defendants
                                             in this matter..

                                                                                                     Respectfully submitted,

                                                                                             Page 2 of 3
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                                             Dennis Both                              General Development of Illinois, LLC
                                             18 W. 111 73rd Place                     Hanan Bekri and Abderrazk Chahine
                                             Darien, IL 60561
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                                             (312) 31598200
                                             dbothlaw@att.com                        /s/ Dennis Both




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      Hearing Date: NoCase:
                       hearing 1:23-cv-03352
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 78 of 127 PageID #:218
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 79 of 127 PageID #:219
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 80 of 127 PageID #:220
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 81 of 127 PageID #:221
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 82 of 127 PageID #:222
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 83 of 127 PageID #:223
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 84 of 127 PageID #:224
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 85 of 127 PageID #:225
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 86 of 127 PageID #:226
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 87 of 127 PageID #:227
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 88 of 127 PageID #:228
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 89 of 127 PageID #:229
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 90 of 127 PageID #:230
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                         Case:scheduled
      Hearing Date: No hearing 1:23-cv-03352                           Document #: 6-1 Filed: 05/31/23 Page 91 of 127 PageID #:231
      Location: <<CourtRoomNumber>>
      Judge: Calendar, 6



                                                                                                                          Attorney No. 12705

                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         FILED
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                                                                COUNTY DEPARTMENT, CHANCERY DIVISION                                4/26/2023 12:00 PM
                                                                                                                                    IRIS Y. MARTINEZ
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                                             GENERAL DEVELOPMENT OF IL, LLC                )                                        2023CH04058
                                             an Illinois limited liability company,        )                                        Calendar, 6
                                             HANAN BEKRI and                                )                                       22458220
                                             ABDERRAZK CHAHINE                             )
                                                                             Plaintiffs,    )
                                                                                            )
                                                           v.                               )         Case No. 23CH 04058
                                                                                            )
                                                                                            )
                                             CITY OF HICKORY HILLS,                         )
                                             an Illinois municipal corporation, and          )
                                             SUE LEHR, individually and in her capacity as )
                                             Hickory Hills director of Public Works,         )
                                                                                            )
                                                                         Defendants.        )



                                                                        NOTICE OF EMERGENCY MOTION
                                             To: SEE SERVICE LIST

                                                    PLEASE TAKE NOTICE that on April 28, 2023, at 9:00 a.m., the undersigned will
                                             appear before the Honorable Celia Gamrath in room 2508 of the Richard J. Daley Center, 50 W.
                                             Washington, Chicago Illinois, via Zoom video conference, ID 928 4730 2982, password 411367,
                                             and then and there present Plaintiffs’ Emergency Motion For TRO, a copy of which is attached.

                                                                                                   Respectfully Submitted,
                                                                                                   General Development of IL, LLC
                                                                                                   Hanan Bekri, Abderrazk Chahine

                                                                                                By:/s/Dennis E. Both__________
                                                                                                     Their Attorney

                                             Dennis Both (#12705)
                                             Attorney for plaintiffs
                                             18 W. 111 73rd Place
                                             Darien, Il 60561
                                             312-315-9800




                                                                                           1
                                              Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 92 of 127 PageID #:232




                                                                            CERTIFICATE OF SERVICE
FILED DATE: 4/26/2023 12:00 PM 2023CH04058




                                                    The undersigned attorney for the plaintiffs hereby certifies that on April 26, 2023, he

                                             caused the foregoing to be electronically filed with the Clerk of the Court for Cook County,

                                             by the Odyssey eFileIL system, and served the same on defendants via email. before the hour

                                             of 5:00 p.m.



                                             Attorney for Defendants                     Defendants

                                             Vincent Cainkar                             City of Hickory Hills
                                             Louis F. Cainkar, LTD                       Sue Lehr
                                             6215 West 79th Street                       C/O D’Lorah Catizone City Clerk
                                             Suite 2A
                                             Burbank, IL 60459
                                             vcainkar@aol.com
                                                                                   /s/     Dennis E. Both




                                                                                          2
      Hearing Date: NoCase:
                       hearing 1:23-cv-03352
                               scheduled       Document #: 6-1 Filed: 05/31/23 Page 93 of 127 PageID #:233
      Location: <<CourtRoomNumber>>
      Judge: Calendar, 6




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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 94 of 127 PageID #:234
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 95 of 127 PageID #:235
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 96 of 127 PageID #:236
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 97 of 127 PageID #:237
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 98 of 127 PageID #:238
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 99 of 127 PageID #:239
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 100 of 127 PageID #:240
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 101 of 127 PageID #:241
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 102 of 127 PageID #:242
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 103 of 127 PageID #:243
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 104 of 127 PageID #:244
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 105 of 127 PageID #:245
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                                            Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 106 of 127 PageID #:246
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                     Case:
      Hearing Date: No hearing1:23-cv-03352
                               scheduled      Document #: 6-1 Filed: 05/31/23 Page 107 of 127 PageID #:247
      Location: <<CourtRoomNumber>>
      Judge: Calendar, 6




                                                                                                FILED
FILED DATE: 4/26/2023 11:24 AM 2023CH04058




                                                                                                4/26/2023 11:24 AM
                                                                                                IRIS Y. MARTINEZ
                                                                                                CIRCUIT CLERK
                                                                                                COOK COUNTY, IL
                                                                                                2023CH04058
                                                                                                Calendar, 6
                                                                                                22456836
                     This
      Hearing Date: No    formscheduled
                       Case:
                       hearing is approved by the Document
                               1:23-cv-03352      Illinois Supreme Court
                                                                #: 6-1   and is05/31/23
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                                                                                                 108 ofin 127
                                                                                                          all Illinois Circuit
                                                                                                                  PageID       Courts.
                                                                                                                            #:248
                                                                                                       For Court Use Only
                      STATE OF ILLINOIS,
      Location: <<CourtRoomNumber>>
      Judge: Calendar, 6
                                                           CIRCUIT COURT
                                                                                                           SUMMONS                                             FILED
                                                                                                                                                               4/26/2023 11:43 AM
                                                 Cook                   COUNTY                                                                                 IRIS Y. MARTINEZ
                                                                                                                                                               CIRCUIT CLERK
                                                Instructions                                                                                                  COOK COUNTY, IL
FILED DATE: 4/26/2023 11:43 AM 2023CH04058




                                             Enter above the county     GENERAL DEVELOPMENT OF IL, LLC ET AL                                                   2023CH04058
                                             name where the case         Plaintiff / Petitioner (First, middle, last name)                                     Calendar, 6
                                             was filed.                                                                                                        22457551
                                             Enter your name as
                                             Plaintiff/Petitioner.       v.
                                             Enter the names of all
                                             people you are suing as    CITY OF HICKORY HILLS AND SUE LEHR                                        2023CH04058
                                             Defendants/                 Defendant / Respondent (First, middle, last name)                         Case Number
                                             Respondents.

                                             Enter the Case Number
                                             given by the Circuit         Alias Summons (Check this box if this is not the 1st
                                             Clerk.                      Summons issued for this Defendant.)

                                                                       There may be court fees to start or respond to a case. If you are unable to pay your court fees, you can apply
                                                                       for a fee waiver. You can find the fee waiver application at: illinoiscourts.gov/documents-and-
                                                                       forms/approved-forms/.
                                                                       E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-
                                                                       filing service provider. Visit efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
                                                IMPORTANT              service provider. If you need additional help or have trouble e-filing, visit illinoiscourts.gov/faq/gethelp.asp
                                              INFORMATION:             or talk with your local circuit clerk’s office. If you cannot e-file, you may be able to get an exemption that
                                                                       allows you to file in-person or by mail. Ask your circuit clerk for more information or visit
                                                                       illinoislegalaid.org.
                                                                       Call or text Illinois Court Help at 833-411-1121 for information about how to go to court including how to
                                                                       fill out and file forms. You can also get free legal information and legal referrals at illinoislegalaid.org.
                                                                       Do not use this form in an eviction, small claims, detinue, divorce, or replevin case. Use the Eviction
                                                                       Summons, Small Claims Summons, or Summons Petition for Dissolution of Marriage / Civil Union available
                                                                       at illinoiscourts.gov/documents-and-forms/approved-forms. If your case is a detinue or replevin, visit
                                             Plaintiff/Petitioner:     illinoislegalaid.org for help.
                                                                       If you are suing more than 1 Defendant/Respondent, fill out a Summons form for each
                                                                       Defendant/Respondent.

                                             In 1a, enter the name        1.     Defendant/Respondent's address and service information:
                                             and address of a                    a. Defendant/Respondent's primary address/information for service:
                                             Defendant/
                                             Respondent. If you are                  Name (First, Middle, Last): SUE LEHR
                                             serving a Registered                    Registered Agent’s name, if any:
                                             Agent, include the
                                             Registered Agent’s                      Street Address, Unit #: 7700 W. 98TH STREET
                                             name and address here.                  City, State, ZIP: HICKORY HILLS IL 60457
                                                                                     Telephone: 7085984800                Email: HHCLERK@HICKORYHILLSIL.ORG
                                             In 1b, enter a second               b.   If you have more than one address where Defendant/Respondent might be found,
                                             address for Defendant/
                                             Respondent, if you
                                                                                      list that here:
                                             have one.                                Name (First, Middle, Last):
                                                                                      Street Address, Unit #:
                                                                                      City, State, ZIP:
                                             In 1c, check how you                     Telephone:                             Email:
                                             are sending your
                                             documents to
                                                                                 c.   Method of service on Defendant/Respondent:
                                             Defendant/                                Sheriff                 Sheriff outside Illinois:
                                             Respondent.                                                                                           County & State
                                                                                      ✔ Special process server
                                                                                                                                  Licensed private detective



                                             SU-S 1503.2                                                      Page 1 of 4                                                          (06/21)
                                                                                      Enter
                                                         Case: 1:23-cv-03352 Document #: 6-1the Filed:
                                                                                                Case Number given by Page
                                                                                                       05/31/23      the Circuit
                                                                                                                             109     of2023CH04058
                                                                                                                                 Clerk:_________________________________
                                                                                                                                         127 PageID #:249

                                             In 2, enter the amount       2.     Information about the lawsuit:
                                             of money owed to you.
                                                                                 Amount claimed: $
                                             In 3, enter your
                                             complete address,            3.     Contact information for the Plaintiff/Petitioner:
                                             telephone number, and               Name (First, Middle, Last): DENNIS BOTH
                                             email address, if you
                                                                                 Street Address, Unit #: 18 W. 111 73RD PLACE
FILED DATE: 4/26/2023 11:43 AM 2023CH04058




                                             have one.
                                                                                 City, State, ZIP: DARIEN IL 60561
                                                                                 Telephone: 3123159800                  Email: DBOTHLAW@ATT.NET

                                             GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
                                             every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.


                                                  Important            You have been sued. Read all of the documents attached to this Summons.
                                             information for the       To participate in the case, you must follow the instructions listed below. If you do not, the court may decide
                                              person getting this      the case without hearing from you and you could lose the case. Appearance and Answer/Response forms can
                                                    form               be found at: illinoiscourts.gov/documents-and-forms/approved-forms/.

                                             Check 4a or 4b. If           4.    Instructions for person receiving this Summons (Defendant):
                                             Defendant/Respondent
                                                                               a. To respond to this Summons, you must file Appearance and Answer/Response
                                             only needs to file an
                                             Appearance and                          forms with the court within 30 days after you have been served (not counting the day
                                             Answer/Response                         of service) by e-filing or at:
                                             within 30 days, check
                                             box 4a. Otherwise, if                   Address:
                                             the clerk gives you a                   City, State, ZIP:
                                             court date, check box
                                             4b.
                                                                               b.   Attend court:
                                             In 4a, fill out the                     On:                                 at                         a.m.  p.m. in
                                             address of the court                             Date                              Time                                         Courtroom
                                             building where the
                                                                                     In-person at:
                                             Defendant may file or
                                             e-file their
                                             Appearance and                          Courthouse Address                  City                                    State             ZIP
                                             Answer/ Response.                       OR
                                             In 4b, fill out:                        Remotely (You may be able to attend this court date by phone or video conference.
                                             •The court date and
                                              time the clerk gave                    This is called a “Remote Appearance”):
                                              you.                                         By telephone:
                                             •The courtroom and                                                 Call-in number for telephone remote appearance
                                              address of the court                          By video conference:
                                              building.
                                                                                                                         Video conference website
                                             •The call-in or video
                                              information for
                                              remote appearances                            Video conference log-in information (meeting ID, password, etc.)
                                              (if applicable).
                                             •The clerk’s phone                      Call the Circuit Clerk at:                                                  or visit their website
                                              number and website.                                                    Circuit Clerk’s phone number
                                             All of this information
                                             is available from the                   at:                                                         to find out more about how to do this.
                                             Circuit Clerk.                                  Website




                                                       STOP!              Witness this Date:                                                                                     Seal of Court
                                             The Circuit Clerk will                                4/26/2023 11:43 AM IRIS Y. MARTINEZ
                                             fill in this section.        Clerk of the Court:
                                                     STOP!
                                             The officer or process       This Summons must be served within 30 days of the witness date.
                                             server will fill in the
                                             Date of Service.             Date of Service:
                                                                                                 (Date to be entered by an officer or process server on the copy of this Summons left
                                                                                                 with the Defendant or other person.)

                                             SU-S 1503.2                                                        Page 2 of 4                                                               (06/21)
                                                      This form is
                                                        Case:      approved by the Document
                                                                1:23-cv-03352      Illinois Supreme Court
                                                                                                 #: 6-1   and is05/31/23
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                                                                                                                                           all Illinois Circuit
                                                                                                                                                   PageID       Courts.
                                                                                                                                                             #:250
                                                                                                                                                  For Court Use Only
                                                       STATE OF ILLINOIS,
                                                        CIRCUIT COURT                                PROOF OF SERVICE OF
                                                                                                        SUMMONS AND
                                                Cook                       COUNTY                     COMPLAINT/PETITION

                                                  Instructions
FILED DATE: 4/26/2023 11:43 AM 2023CH04058




                                              Enter above the
                                              county name where            GENERAL DEVELOPMENT OF IL, LLC ET AL
                                              the case was filed.            Plaintiff / Petitioner (First, middle, last name)
                                              Enter your name as
                                              Plaintiff/Petitioner.
                                              Enter the names of all         v.
                                              people you are suing
                                              as Defendants/               CITY OF HICKORY HILLS AND SUE LEHR
                                              Respondents.
                                                                             Defendant / Respondent (First, middle, last name)
                                              Enter the Case                                                                                     2023CH04058
                                              Number given by the             Alias Summons (Check this box if this is not the 1st               Case Number
                                              Circuit Clerk.                 Summons issued for this Defendant.)

                                                            **Stop. Do not complete the form. The sheriff or special process server will fill in the form.**

                                                  My name is                                                                     and I state
                                                                       First, Middle, Last
                                                   I served the Summons and Complaint/Petition on the Defendant/Respondent
                                                                                                                                               as follows:
                                                  First, Middle, Last

                                                          Personally on the Defendant/Respondent:
                                                           Male  Female  Non-Binary                                   Approx. Age:           Race:
                                                               On this date:                                at this time:                a.m.  p.m.
                                                               Address, Unit#:
                                                               City, State, ZIP:

                                                          On someone else at the Defendant/Respondent’s home who is at least 13 years old and is a family
                                                           member or lives there:
                                                           On this date:                     at this time:                a.m.  p.m.
                                                               Address, Unit#:
                                                               City, State, ZIP:
                                                               And left it with:
                                                                                      First, Middle, Last
                                                           Male  Female  Non-Binary                  Approx. Age:                    Race:
                                                           and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                                                           above address on                     , 20            .
                                                          On the Corporation’s agent,
                                                                                                    First, Middle, Last

                                                               Male      Female                 Non-Binary  Approx. Age:                     Race:
                                                               On this date:                             at this time:                   a.m.  p.m.
                                                               Address:
                                                               City, State, ZIP:




                                             SU-S 1503.2                                                          Page 3 of 4                                             (06/21)
                                                       Case: 1:23-cv-03352 Document #:   Enter
                                                                                            6-1the Filed:
                                                                                                   Case Number given by Page
                                                                                                          05/31/23      the Circuit
                                                                                                                                111     of2023CH04058
                                                                                                                                    Clerk:_________________________________
                                                                                                                                            127 PageID #:251
                                                   I was not able to serve the Summons and Complaint/Petition on Defendant/Respondent:

                                                  First, Middle, Last

                                                  I made the following attempts to serve the Summons and Complaint/Petition on the Defendant/Respondent:

                                                  1.    On this date:                            at this time:                   a.m.  p.m.
FILED DATE: 4/26/2023 11:43 AM 2023CH04058




                                                        Address:
                                                        City, State, ZIP:
                                                        Other information about service attempt:




                                                  2.    On this date:                            at this time:                   a.m.  p.m.
                                                        Address:
                                                        City, State, ZIP:
                                                        Other information about service attempt:




                                                  3.    On this date:                            at this time:                   a.m.  p.m.
                                                        Address:
                                                        City, State, ZIP:
                                                        Other information about service attempt:




                                              DO NOT complete
                                              .
                                                                        If you are a special process server, sheriff outside Illinois, or licensed private detective,
                                              this section. The
                                                                        your signature certifies that everything on the Proof of Service of Summons is true and
                                              sheriff or private
                                              process server will       correct to the best of your knowledge. You understand that making a false statement on
                                              complete it.              this form could be perjury.

                                                                        By:                                             FEES
                                              Under the Code of                                                         Service and Return:     $
                                              Civil Procedure, 735                       Sheriff
                                                                        Signature by:                                   Miles                   $
                                              ILCS 5/1-109,
                                              making a statement                         Sheriff outside Illinois:     Total                   $ 0.00
                                              on this form that you
                                              know to be false is
                                              perjury, a Class 3                            County and State
                                              Felony.                                    Special process server
                                                                                         Licensed private
                                                                                          detective

                                                                        Print Name


                                                                        If Summons is served by licensed private detective or private detective agency:
                                                                        License Number:




                                             SU-S 1503.2                                                  Page 4 of 4                                                (06/21)
                     This
      Hearing Date: No    formscheduled
                       Case:
                       hearing is approved by the Document
                               1:23-cv-03352      Illinois Supreme Court
                                                                #: 6-1   and is05/31/23
                                                                       Filed:   required toPage
                                                                                           be accepted
                                                                                                 112 ofin 127
                                                                                                          all Illinois Circuit
                                                                                                                  PageID       Courts.
                                                                                                                            #:252
                                                                                                       For Court Use Only
                      STATE OF ILLINOIS,
      Location: <<CourtRoomNumber>>
      Judge: Calendar, 6
                                                           CIRCUIT COURT
                                                                                                           SUMMONS                                             FILED
                                                                                                                                                               4/26/2023 11:43 AM
                                                 Cook                   COUNTY                                                                                 IRIS Y. MARTINEZ
                                                                                                                                                               CIRCUIT CLERK
                                                Instructions                                                                                                  COOK COUNTY, IL
FILED DATE: 4/26/2023 11:43 AM 2023CH04058




                                             Enter above the county     GENERAL DEVELOPMENT OF IL, LLC ET AL                                                   2023CH04058
                                             name where the case         Plaintiff / Petitioner (First, middle, last name)                                     Calendar, 6
                                             was filed.                                                                                                        22457551
                                             Enter your name as
                                             Plaintiff/Petitioner.       v.
                                             Enter the names of all
                                             people you are suing as    CITY OF HICKORY HILLS AND SUE LEHR                                        2023CH04058
                                             Defendants/                 Defendant / Respondent (First, middle, last name)                         Case Number
                                             Respondents.

                                             Enter the Case Number
                                             given by the Circuit         Alias Summons (Check this box if this is not the 1st
                                             Clerk.                      Summons issued for this Defendant.)

                                                                       There may be court fees to start or respond to a case. If you are unable to pay your court fees, you can apply
                                                                       for a fee waiver. You can find the fee waiver application at: illinoiscourts.gov/documents-and-
                                                                       forms/approved-forms/.
                                                                       E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-
                                                                       filing service provider. Visit efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
                                                IMPORTANT              service provider. If you need additional help or have trouble e-filing, visit illinoiscourts.gov/faq/gethelp.asp
                                              INFORMATION:             or talk with your local circuit clerk’s office. If you cannot e-file, you may be able to get an exemption that
                                                                       allows you to file in-person or by mail. Ask your circuit clerk for more information or visit
                                                                       illinoislegalaid.org.
                                                                       Call or text Illinois Court Help at 833-411-1121 for information about how to go to court including how to
                                                                       fill out and file forms. You can also get free legal information and legal referrals at illinoislegalaid.org.
                                                                       Do not use this form in an eviction, small claims, detinue, divorce, or replevin case. Use the Eviction
                                                                       Summons, Small Claims Summons, or Summons Petition for Dissolution of Marriage / Civil Union available
                                                                       at illinoiscourts.gov/documents-and-forms/approved-forms. If your case is a detinue or replevin, visit
                                             Plaintiff/Petitioner:     illinoislegalaid.org for help.
                                                                       If you are suing more than 1 Defendant/Respondent, fill out a Summons form for each
                                                                       Defendant/Respondent.

                                             In 1a, enter the name        1.     Defendant/Respondent's address and service information:
                                             and address of a                    a. Defendant/Respondent's primary address/information for service:
                                             Defendant/
                                             Respondent. If you are                  Name (First, Middle, Last): CITY OF HICKORY HILLS
                                             serving a Registered                    Registered Agent’s name, if any: D'LORAH CATIZONE
                                             Agent, include the
                                             Registered Agent’s                      Street Address, Unit #: 8652 W. 95TH STREET
                                             name and address here.                  City, State, ZIP: HICKORY HILLS IL 60457
                                                                                     Telephone: 7085984800                Email: HHCLERK@HICKORYHILLSIL.ORG
                                             In 1b, enter a second               b.   If you have more than one address where Defendant/Respondent might be found,
                                             address for Defendant/
                                             Respondent, if you
                                                                                      list that here:
                                             have one.                                Name (First, Middle, Last):
                                                                                      Street Address, Unit #:
                                                                                      City, State, ZIP:
                                             In 1c, check how you                     Telephone:                             Email:
                                             are sending your
                                             documents to
                                                                                 c.   Method of service on Defendant/Respondent:
                                             Defendant/                                Sheriff                 Sheriff outside Illinois:
                                             Respondent.                                                                                           County & State
                                                                                      ✔ Special process server
                                                                                                                                  Licensed private detective



                                             SU-S 1503.2                                                      Page 1 of 4                                                          (06/21)
                                                                                      Enter
                                                         Case: 1:23-cv-03352 Document #: 6-1the Filed:
                                                                                                Case Number given by Page
                                                                                                       05/31/23      the Circuit
                                                                                                                             113     of2023CH04058
                                                                                                                                 Clerk:_________________________________
                                                                                                                                         127 PageID #:253

                                             In 2, enter the amount       2.     Information about the lawsuit:
                                             of money owed to you.
                                                                                 Amount claimed: $
                                             In 3, enter your
                                             complete address,            3.     Contact information for the Plaintiff/Petitioner:
                                             telephone number, and               Name (First, Middle, Last): DENNIS BOTH
                                             email address, if you
                                                                                 Street Address, Unit #: 18 W. 111 73RD PLACE
FILED DATE: 4/26/2023 11:43 AM 2023CH04058




                                             have one.
                                                                                 City, State, ZIP: DARIEN IL 60561
                                                                                 Telephone: 3123159800                  Email: DBOTHLAW@ATT.NET

                                             GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
                                             every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.


                                                  Important            You have been sued. Read all of the documents attached to this Summons.
                                             information for the       To participate in the case, you must follow the instructions listed below. If you do not, the court may decide
                                              person getting this      the case without hearing from you and you could lose the case. Appearance and Answer/Response forms can
                                                    form               be found at: illinoiscourts.gov/documents-and-forms/approved-forms/.

                                             Check 4a or 4b. If           4.    Instructions for person receiving this Summons (Defendant):
                                             Defendant/Respondent
                                                                               a. To respond to this Summons, you must file Appearance and Answer/Response
                                             only needs to file an
                                             Appearance and                          forms with the court within 30 days after you have been served (not counting the day
                                             Answer/Response                         of service) by e-filing or at:
                                             within 30 days, check
                                             box 4a. Otherwise, if                   Address:
                                             the clerk gives you a                   City, State, ZIP:
                                             court date, check box
                                             4b.
                                                                               b.   Attend court:
                                             In 4a, fill out the                     On:                                 at                         a.m.  p.m. in
                                             address of the court                             Date                              Time                                         Courtroom
                                             building where the
                                                                                     In-person at:
                                             Defendant may file or
                                             e-file their
                                             Appearance and                          Courthouse Address                  City                                    State             ZIP
                                             Answer/ Response.                       OR
                                             In 4b, fill out:                        Remotely (You may be able to attend this court date by phone or video conference.
                                             •The court date and
                                              time the clerk gave                    This is called a “Remote Appearance”):
                                              you.                                         By telephone:
                                             •The courtroom and                                                 Call-in number for telephone remote appearance
                                              address of the court                          By video conference:
                                              building.
                                                                                                                         Video conference website
                                             •The call-in or video
                                              information for
                                              remote appearances                            Video conference log-in information (meeting ID, password, etc.)
                                              (if applicable).
                                             •The clerk’s phone                      Call the Circuit Clerk at:                                                  or visit their website
                                              number and website.                                                    Circuit Clerk’s phone number
                                             All of this information
                                             is available from the                   at:                                                         to find out more about how to do this.
                                             Circuit Clerk.                                  Website




                                                       STOP!              Witness this Date:                                                                                     Seal of Court
                                             The Circuit Clerk will                                4/26/2023 11:43 AM IRIS Y. MARTINEZ
                                             fill in this section.        Clerk of the Court:
                                                     STOP!
                                             The officer or process       This Summons must be served within 30 days of the witness date.
                                             server will fill in the
                                             Date of Service.             Date of Service:
                                                                                                 (Date to be entered by an officer or process server on the copy of this Summons left
                                                                                                 with the Defendant or other person.)

                                             SU-S 1503.2                                                        Page 2 of 4                                                               (06/21)
                                                      This form is
                                                        Case:      approved by the Document
                                                                1:23-cv-03352      Illinois Supreme Court
                                                                                                 #: 6-1   and is05/31/23
                                                                                                        Filed:   required toPage
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                                                                                                                                           all Illinois Circuit
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                                                                                                                                                             #:254
                                                                                                                                                  For Court Use Only
                                                       STATE OF ILLINOIS,
                                                        CIRCUIT COURT                                PROOF OF SERVICE OF
                                                                                                        SUMMONS AND
                                                Cook                       COUNTY                     COMPLAINT/PETITION

                                                  Instructions
FILED DATE: 4/26/2023 11:43 AM 2023CH04058




                                              Enter above the
                                              county name where            GENERAL DEVELOPMENT OF IL, LLC ET AL
                                              the case was filed.            Plaintiff / Petitioner (First, middle, last name)
                                              Enter your name as
                                              Plaintiff/Petitioner.
                                              Enter the names of all         v.
                                              people you are suing
                                              as Defendants/               CITY OF HICKORY HILLS AND SUE LEHR
                                              Respondents.
                                                                             Defendant / Respondent (First, middle, last name)
                                              Enter the Case                                                                                     2023CH04058
                                              Number given by the             Alias Summons (Check this box if this is not the 1st               Case Number
                                              Circuit Clerk.                 Summons issued for this Defendant.)

                                                            **Stop. Do not complete the form. The sheriff or special process server will fill in the form.**

                                                  My name is                                                                     and I state
                                                                       First, Middle, Last
                                                   I served the Summons and Complaint/Petition on the Defendant/Respondent
                                                                                                                                               as follows:
                                                  First, Middle, Last

                                                          Personally on the Defendant/Respondent:
                                                           Male  Female  Non-Binary                                   Approx. Age:           Race:
                                                               On this date:                                at this time:                a.m.  p.m.
                                                               Address, Unit#:
                                                               City, State, ZIP:

                                                          On someone else at the Defendant/Respondent’s home who is at least 13 years old and is a family
                                                           member or lives there:
                                                           On this date:                     at this time:                a.m.  p.m.
                                                               Address, Unit#:
                                                               City, State, ZIP:
                                                               And left it with:
                                                                                      First, Middle, Last
                                                           Male  Female  Non-Binary                  Approx. Age:                    Race:
                                                           and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                                                           above address on                     , 20            .
                                                          On the Corporation’s agent,
                                                                                                    First, Middle, Last

                                                               Male      Female                 Non-Binary  Approx. Age:                     Race:
                                                               On this date:                             at this time:                   a.m.  p.m.
                                                               Address:
                                                               City, State, ZIP:




                                             SU-S 1503.2                                                          Page 3 of 4                                             (06/21)
                                                       Case: 1:23-cv-03352 Document #:   Enter
                                                                                            6-1the Filed:
                                                                                                   Case Number given by Page
                                                                                                          05/31/23      the Circuit
                                                                                                                                115     of2023CH04058
                                                                                                                                    Clerk:_________________________________
                                                                                                                                            127 PageID #:255
                                                   I was not able to serve the Summons and Complaint/Petition on Defendant/Respondent:

                                                  First, Middle, Last

                                                  I made the following attempts to serve the Summons and Complaint/Petition on the Defendant/Respondent:

                                                  1.    On this date:                            at this time:                   a.m.  p.m.
FILED DATE: 4/26/2023 11:43 AM 2023CH04058




                                                        Address:
                                                        City, State, ZIP:
                                                        Other information about service attempt:




                                                  2.    On this date:                            at this time:                   a.m.  p.m.
                                                        Address:
                                                        City, State, ZIP:
                                                        Other information about service attempt:




                                                  3.    On this date:                            at this time:                   a.m.  p.m.
                                                        Address:
                                                        City, State, ZIP:
                                                        Other information about service attempt:




                                              DO NOT complete
                                              .
                                                                        If you are a special process server, sheriff outside Illinois, or licensed private detective,
                                              this section. The
                                                                        your signature certifies that everything on the Proof of Service of Summons is true and
                                              sheriff or private
                                              process server will       correct to the best of your knowledge. You understand that making a false statement on
                                              complete it.              this form could be perjury.

                                                                        By:                                             FEES
                                              Under the Code of                                                         Service and Return:     $
                                              Civil Procedure, 735                       Sheriff
                                                                        Signature by:                                   Miles                   $
                                              ILCS 5/1-109,
                                              making a statement                         Sheriff outside Illinois:     Total                   $ 0.00
                                              on this form that you
                                              know to be false is
                                              perjury, a Class 3                            County and State
                                              Felony.                                    Special process server
                                                                                         Licensed private
                                                                                          detective

                                                                        Print Name


                                                                        If Summons is served by licensed private detective or private detective agency:
                                                                        License Number:




                                             SU-S 1503.2                                                  Page 4 of 4                                                (06/21)
                       Case:scheduled
      Hearing Date: No hearing 1:23-cv-03352                           Document #: 6-1 Filed: 05/31/23 Page 116 of 127 PageID #:256
      Location: <<CourtRoomNumber>>
      Judge: Calendar, 6



                                                                                                                          Attorney No. 12705

                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         FILED
FILED DATE: 4/26/2023 12:00 PM 2023CH04058




                                                                COUNTY DEPARTMENT, CHANCERY DIVISION                                4/26/2023 12:00 PM
                                                                                                                                    IRIS Y. MARTINEZ
                                                                                                                                    CIRCUIT CLERK
                                                                                                                                    COOK COUNTY, IL
                                             GENERAL DEVELOPMENT OF IL, LLC                )                                        2023CH04058
                                             an Illinois limited liability company,        )                                        Calendar, 6
                                             HANAN BEKRI and                                )                                       22458220
                                             ABDERRAZK CHAHINE                             )
                                                                             Plaintiffs,    )
                                                                                            )
                                                           v.                               )         Case No. 23CH 04058
                                                                                            )
                                                                                            )
                                             CITY OF HICKORY HILLS,                         )
                                             an Illinois municipal corporation, and          )
                                             SUE LEHR, individually and in her capacity as )
                                             Hickory Hills director of Public Works,         )
                                                                                            )
                                                                         Defendants.        )



                                                                        NOTICE OF EMERGENCY MOTION
                                             To: SEE SERVICE LIST

                                                    PLEASE TAKE NOTICE that on April 28, 2023, at 9:00 a.m., the undersigned will
                                             appear before the Honorable Celia Gamrath in room 2508 of the Richard J. Daley Center, 50 W.
                                             Washington, Chicago Illinois, via Zoom video conference, ID 928 4730 2982, password 411367,
                                             and then and there present Plaintiffs’ Emergency Motion For TRO, a copy of which is attached.

                                                                                                   Respectfully Submitted,
                                                                                                   General Development of IL, LLC
                                                                                                   Hanan Bekri, Abderrazk Chahine

                                                                                                By:/s/Dennis E. Both__________
                                                                                                     Their Attorney

                                             Dennis Both (#12705)
                                             Attorney for plaintiffs
                                             18 W. 111 73rd Place
                                             Darien, Il 60561
                                             312-315-9800




                                                                                           1
                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 117 of 127 PageID #:257




                                                                            CERTIFICATE OF SERVICE
FILED DATE: 4/26/2023 12:00 PM 2023CH04058




                                                    The undersigned attorney for the plaintiffs hereby certifies that on April 26, 2023, he

                                             caused the foregoing to be electronically filed with the Clerk of the Court for Cook County,

                                             by the Odyssey eFileIL system, and served the same on defendants via email. before the hour

                                             of 5:00 p.m.



                                             Attorney for Defendants                     Defendants

                                             Vincent Cainkar                             City of Hickory Hills
                                             Louis F. Cainkar, LTD                       Sue Lehr
                                             6215 West 79th Street                       C/O D’Lorah Catizone City Clerk
                                             Suite 2A
                                             Burbank, IL 60459
                                             vcainkar@aol.com
                                                                                   /s/     Dennis E. Both




                                                                                          2
                       Case:scheduled
      Hearing Date: No hearing 1:23-cv-03352                            Document #: 6-1 Filed: 05/31/23 Page 118 of 127 PageID #:258
      Location: <<CourtRoomNumber>>
      Judge: Calendar, 6



                                                                                                                                Attorney No. 12705

                                                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
FILED DATE: 4/26/2023 12:30 PM 2023CH04058




                                                                 COUNTY DEPARTMENT, CHANCERY DIVISION
                                                                                                                                          FILED
                                                                                                                                          4/26/2023 12:30 PM
                                                                                                                                          IRIS Y. MARTINEZ
                                             GENERAL DEVELOPMENT OF IL, LLC                )                                              CIRCUIT CLERK
                                             an Illinois limited liability company,        )                                              COOK COUNTY, IL
                                             HANAN BEKRI and                                )                                             2023CH04058
                                                                                                                                          Calendar, 6
                                             ABDERRAZK CHAHINE                             )                                              22459055
                                                                             Plaintiffs,    )
                                                                                            )
                                                           v.                               )             Case No. 23CH 04058
                                                                                            )
                                                                                            )
                                             CITY OF HICKORY HILLS,                         )
                                             an Illinois municipal corporation, and          )
                                             SUE LEHR, individually and in her capacity as )
                                             Hickory Hills director of Public Works,         )
                                                                                            )
                                                                         Defendants.        )

                                                                       PLAINTIFFS’ MOTION TO DISQUALIFY

                                                     Plaintiffs, General Development of Illinois, LLC (General), Hanan Bekri (Hanan) and

                                             Abderrazk Chahine (Abderrazk) by and through their attorney, and moving to disqualify the law

                                             firm of Louis F. Cainkar, LTD and attorney Vincent Cainkar from representing the defendants in

                                             this matter, state as follows:

                                                                                        INTRODUCTION

                                                     The subject matter of this litigation involves the illegal placement of a water main on

                                             property located in the Village of Hickory Hills. Plaintiff General is the current owner of the

                                             property and the same is under contract for sale to co-plaintiffs Hanan and Abderrazk.

                                                     After acquiring the property, General developed the property into single family homes,

                                             which required General to submit surveys, plats of subdivision and plans to defendant Hickory

                                             Hills for approval.



                                                                                         Page 1 of 3
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                                                      Louis F. Cainkar, LTD (the Firm) and Vincent Cainkar (the Attorney) are the attorneys

                                             for the City of Hickory Hills and were involved in the process of the development of the subject
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                                             property, and the approval of that development on behalf of Hickory Hills. As a result, they are

                                             witnesses and are prohibited from representing the defendants and being witnesses

                                             simultaneously.

                                                                                               ARGUMENT

                                                     Rule 3.7 of the Illinois Rules of Professional Conduct 2010, provides:

                                             (a) A lawyer shall not act as advocate at a trial in which the lawyer is likely to be a necessary witness
                                             unless:
                                             (1) the testimony relates to an uncontested issue;
                                             (2) the testimony relates to the nature and value of legal services rendered in the case; or
                                             (3) disqualification of the lawyer would work substantial hardship on the client.
                                             (b) A lawyer may act as advocate in a trial in which another lawyer in the lawyer's firm is likely to be
                                             called as a witness unless precluded from doing so by Rule 1.7 or Rule 1.9.

                                                     Both the Firm and the Attorney have a conflict of interest in that they specifically communicated

                                             with General and requested that General grant Hickory Hills a public utility easement on 8566 83 rd

                                             Avenue and gave their approval of the plats and plans dedicating that easement at the requested location,

                                             but Hickory Hills and co-defendant Lehr actually constructed the water main outside the dedicated

                                             easement, and constructed the same on 8570 83rd Avenue, thus making the property unsaleable.

                                                     Both the Firm and the attorney are material witnesses to the development approval process and

                                             are potential party defendants and cannot advocate and witness at the same time.

                                                     In addition, as the Firm and the Attorney may have their own liability for their actions their

                                             positions are adverse to those of Hickory Hills and they cannot advocate for a client with whom they have

                                             a concurrent conflict.

                                                     Wherefore, Plaintiffs pray this Honorable Court enter an order disqualifying the law firm
                                             of Louis F. Cainkar, LTD and attorney Vincent Cainkar from acting as attorneys for the defendants
                                             in this matter..

                                                                                                     Respectfully submitted,

                                                                                             Page 2 of 3
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                                             Dennis Both                               General Development of Illinois, LLC
                                             18 W. 111 73rd Place                      Hanan Bekri and Abderrazk Chahine
                                             Darien, IL 60561
FILED DATE: 4/26/2023 12:30 PM 2023CH04058




                                             (312) 31598200
                                             dbothlaw@att.com                         /s/ Dennis Both




                                                                                Page 3 of 3
                     Case:
      Hearing Date: No hearing1:23-cv-03352
                               scheduled      Document #: 6-1 Filed: 05/31/23 Page 121 of 127 PageID #:261
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      Judge: Calendar, 6




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FILED DATE: 4/26/2023 11:24 AM 2023CH04058




                                                                                                4/26/2023 11:24 AM
                                                                                                IRIS Y. MARTINEZ
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                                                                                                2023CH04058
                                                                                                Calendar, 6
                                                                                                22456836
                                             Case: 1:23-cv-03352   Document
                                                           Hearing Date:         #: scheduled
                                                                         No hearing  6-1 Filed: 05/31/23 Page 122 of 127 PageID #:262
                                                                                                           FILED
                                                            Location: <<CourtRoomNumber>>
                                                            Judge: Calendar, 6                          4/27/2023 12:55 PM
                                                                                                        IRIS Y. MARTINEZ
                                                                                                        CIRCUIT CLERK
                                                                                                        COOK COUNTY, IL
                                                                                                        2023CH04058
                                                                                                        Calendar, 6
                                                                                                        22478652
FILED DATE: 4/27/2023 12:55 PM 2023CH04058
                                             Case: 1:23-cv-03352 Document #: 6-1 Filed: 05/31/23 Page 123 of 127 PageID #:263
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Hearing Date: No hearing scheduled
Location: <<CourtRoomNumber>>
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                                                                         FILED
                                                                         4/27/2023 12:55 PM
                                                                         IRIS Y. MARTINEZ
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                                                                         COOK COUNTY, IL
                                                                         2023CH04058
                                                                         Calendar, 6
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                                                                         22478652
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